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IN THE UNITED STATES DISTRICT COURIJS stat --5l mt 5= 55
FOR THE WESTERN DISTRICT 0F TENNESS§;§ L_
WESTERN DIVISION hyale

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UNITED STATES OF AMERICA,

Plaintiff, Case No. 02-20165 D Ph

vs.
ALVIN IRWIN MOSS, et al.,

Defendants.

 

ORDER OF REFERENCE

 

Before the Court is Defendants Stacy Layne Beavers, Sherrie-Lee Doreen Cave, Michael
Elliot Cole, Geoffrey L. Feldman, and A]_vin Moss’s Renewed Motion to Compel Production of
Items Pertaining to Tolling of Statute of Limitations filed on May 2, 2005, in this case.

This matter is hereby referred to the United States Magistrate Judge for a Report and
Recomrnendation. Any exceptions to the Magistrate Judge’s order Shall be made by motion within
ten (lO) days of the order. Further, all exceptions shall be Stated With particularity

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IT Is So ORDERED this f day of 2005.

    

ERNICE B. DONALD
UNITED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 501 in
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Honorable Bernice Donald
US DISTRICT COURT

